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                                  No. 23-10362


               In the United States Court of Appeals
                       for the Fifth Circuit
                  ALLIANCE FOR HIPPOCRATIC MEDICINE, et al.,
                                                          Plaintiffs-Appellees,
                                        v.
                  U.S. FOOD AND DRUG ADMINISTRATION, et al.,
                                                          Defendants-Appellants,
                                       and
                          DANCO LABORATORIES, LLC,
                                                          Intervenor-Appellant.

On Appeal from the United States District Court for the Northern District of Texas,
  Amarillo Division, Case No. 2:22-cv-00223-Z, Judge Matthew J. Kacsmaryk

    INTERVENOR-APPELLANT’S EMERGENCY MOTION TO STAY
PRELIMINARY INJUNCTION PENDING APPEAL AND FOR A TEMPORARY
   ADMINISTRATIVE STAY PENDING CONSIDERATION OF MOTION

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                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Rule 28.1.1 have an interest in the

outcome of this case. These representations are made in order that the judges of this

court may evaluate possible disqualification or recusal.

      1.     Plaintiffs-Appellees:

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             American College of Pediatricians

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3.   Defendants-Appellants:

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5.   Intervenor-Appellant:

     Danco Laboratories, LLC

     Danco Investors Group, LP (Danco Investors Group, LP is 100%
     owner of Danco Laboratories, LLC)

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             INTRODUCTION AND NATURE OF EMERGENCY

      The District Court enjoined a 23-year-old approval of a drug FDA has found

safe and effective. That decision is directly contrary to longstanding precedent on

Article III standing, statute of limitations, exhaustion, and the Administrative

Procedure Act. The court’s standing conclusions rest on speculative harms and

statistical possibilities drawn from an impermissibly “liberal” construction of

Plaintiffs’ allegations.   The court excused multiple limitations periods and

exhaustion requirements—bending every rule to reach stale, unexhausted challenges

to agency action. On the merits, the court selectively referenced statistical data and

second-guessed FDA’s scientific judgments to find FDA acted arbitrarily and

capriciously—relying in significant part on materials post-dating the agency’s

approvals, and all without the benefit of the administrative record. And the court

capped it off by issuing a plainly mandatory injunction poorly cloaked as a

prohibitory one. The court’s relentlessly one-sided narrative also omits crucial facts:

The opinion never mentions the millions of women who have benefitted from the

availability of medication abortion or the harms an injunction would wreak on

Danco, a one-product company.

      The decision below is an extreme outlier: No court has ever “stayed” or

“suspended” the longstanding approval of a drug consistently found safe and

effective by FDA. The court’s mandatory injunction is an unprecedented judicial



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assault on a careful regulatory process that has served the public for decades. It

should be immediately stayed. Without a stay, the injunction is certain to cause

irreparable harm: to women who will lose access to the medication abortion regimen

that is the standard of care; to Danco; to the pharmaceutical and biotechnology

industries; and to the separation of powers undergirding judicial and regulatory

action.

      The District Court stayed the injunction for seven days. Danco requests an

administrative stay or a stay pending appeal by April 13 at 12:00 p.m. If this Court

is inclined to deny the emergency or administrative stay, Danco also requests an

administrative stay of at least fourteen days to allow Danco the opportunity to seek

emergency relief from the Supreme Court.

                                  STATEMENT

      1. Danco holds the approved New Drug Application (NDA) for Mifeprex

(mifepristone) Tablets. Mifeprex is Danco’s only product.

      Following a lengthy approval process where FDA reviewed extensive data

demonstrating Mifeprex’s safety and efficacy, and consistent with the

recommendation from its outside expert advisors, FDA approved the Mifeprex NDA

in 2000 under 21 C.F.R. Part 314 Subpart H (Subpart H) for the medical termination

of intrauterine pregnancy through 49 days’ pregnancy.




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        In 2002, some Plaintiffs petitioned FDA to revoke Mifeprex’s approval. FDA

denied that petition in 2016 in a response that meticulously reviewed the meaningful

therapeutic benefit medical abortion provides over surgical abortion and thoroughly

explained why Mifeprex was safe and effective. An independent review by the U.S.

Government Accountability Office (GAO) confirmed that FDA’s approval and

oversight processes for Mifeprex were consistent with its processes for other Subpart

H drugs.      U.S. Gov’t Accountability Off., GAO-08-751, Food and Drug

Administration: Approval and Oversight of the Drug Mifeprex (Aug. 2008),

https://www.gao.gov/assets/gao-08-751.pdf.

        In 2008, Danco submitted a risk evaluation and mitigation strategy (REMS)

pursuant to 21 U.S.C. § 355-1(a)(1), which FDA approved in June 2011. ECF No.

1-30 at 2.1 Mifepristone’s approval has been pursuant to the approved REMS since

then.

        In March 2016, FDA approved some changes to Mifeprex’s indication and

dosing regimen after reviewing substantial data demonstrating Mifeprex continued

to be safe and effective under the revised conditions. ECF No. 1-32 at 1; ECF No.

1-33 at 7-19. GAO again found this approval process followed FDA’s standard

procedures.    U.S. Gov’t Accountability Off., GAO-18-292, Food and Drug


1
 Unless otherwise specified, ECF references are to the District Court docket,
No. 2:22-cv-00223-Z (N.D. Tex.). ECF page numbers reference the blue ECF
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Administration: Information on Mifeprex Labeling Changes and Ongoing

Monitoring Efforts (Mar. 2018), https://www.gao.gov/assets/gao-18-292.pdf.

      In 2019, Plaintiffs petitioned FDA to rescind the 2016 changes. They did not

ask FDA to rescind the 2000 Mifeprex approval. Again, FDA’s denial thoroughly

addressed Plaintiffs’ concerns, assertions, and sources.

      In April 2021, after reviewing substantial supporting evidence, FDA

temporarily suspended the in-person dispensing requirement during the COVID-19

pandemic, explaining that it would exercise enforcement discretion to allow

dispensing of mifepristone through the mail or mail-order pharmacies.

      2. In November 2022, Plaintiffs filed suit challenging FDA’s actions

regarding the 2000 approval, 2002 petition denial, 2016 changes, 2019 generic

approval, 2019 petition denial, and 2021 non-enforcement decision under the

Administrative Procedure Act (APA). Plaintiffs’ claims are based on the Federal

Food, Drug, and Cosmetic Act (FDCA), the Comstock Act, the Pediatric Research

Equity Act of 2003 (PREA), and FDA’s regulations. ECF No. 1. Plaintiffs sought

preliminary and permanent injunctive relief.

      FDA approved a modified mifepristone REMS on January 3, 2023, which

superseded the 2021 non-enforcement decision by lifting the in-person dispensing

requirement. Plaintiffs have not challenged this action.




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      All parties supported consolidating Plaintiffs’ preliminary injunction motion

with a merits proceeding on the full administrative record, an essential part of APA

review. ECF Nos. 68, 92, 98. The District Court declined. ECF No. 117. Instead,

the court ordered that “FDA’s approval of mifepristone is hereby STAYED.” Op.

67. The court allowed the parties seven days to obtain emergency relief from this

Court. Id.

                                   ARGUMENT

      Danco is entitled to a stay pending appeal because (1) Danco is likely to

succeed on the merits; (2) Danco will be irreparably injured absent a stay; (3) a stay

will not substantially injure other parties; and (4) a stay serves the public interest.

Nken v. Holder, 556 U.S. 418, 434 (2009). Factors one and two “are the most

critical.” Id. Where, as here, a “serious legal question is involved” and “the balance

of the equities weighs heavily” in favor of a stay, the movant need only show a

“substantial case on the merits.” Ruiz v. Estelle, 650 F.2d 555, 565 (5th Cir. Unit A

June 1981) (per curiam).

I.    DEFENDANTS WILL LIKELY PREVAIL ON APPEAL.

      A.     Plaintiffs Lack Standing.

      The District Court’s “unusually broad and novel view of standing” is directly

contrary to Supreme Court precedent. Valley Forge Christian Coll. v. Americans

United for Separation of Church & State, Inc., 454 U.S. 464, 470 (1982).



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      1. To start, the court used the wrong standard: It “applie[d] the minimal

showing of standing that a plaintiff must show to overcome a motion to dismiss,

rather than the ‘clear showing’ of standing required to maintain a preliminary

injunction.” Texas All. for Retired Americans v. Hughs, 976 F.3d 564, 567 n.1 (5th

Cir. 2020) (per curiam); cf. Op. 12 (“[A]t the pleading stage, we liberally construe

allegations of injury.” (cleaned up)). Plaintiffs did not meet the correct standard:

Their assertions of injury were internally contradictory, inconsistent with other parts

of the record, and do not show that any Plaintiff-physician or Plaintiff-member-

physician personally faces an actual and imminent—not statistically possible—risk

of concrete and particularized injury. E.g., ECF No. 1-8 at 7-8 (eliminating adverse

event reporting requirement is allegedly harmful, but reporting adverse events is

“time that should be spent in patient care”); ECF No. 28-1 at 13 (Danco “still

required by law” to report adverse events to FDA). Article III demands more.

      2. The District Court’s associational standing analysis is similarly flawed.

First, the court found associational standing based on Plaintiff-physicians’ “close

relationship” with patients prescribed mifepristone by another physician. Op. 10.

That is directly contrary to the record. Plaintiff-physicians said they had no such

close relationship. E.g., ECF No. 1-10 at 6 (“These physicians must treat women …

without an existing relationship with the patient ….”); ECF No. 1-4 at 5

(“[E]mergency department doctors do not have a prior relationship with these


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patients.”). Second, the court maintained that Plaintiff-physicians “have no potential

conflicts of interest” with these patients, Op. 10, despite Plaintiff-physicians’

avowed opposition to abortion, e.g., ECF No. 1-9 at 9 (caring for these patients

“harms my conscience rights”); ECF No. 1-8 at 6 (doctor treated patient in procedure

that “she did not want to be a part of”). Third, the court credited Plaintiff-physicians’

assertion that they could not practice “evidence-based medicine” and receive

“informed consent” from patients seeking medication abortion. Op. 8 (quoting ECF

No. 7 at 15). But Plaintiffs averred that they “do not support or practice chemical

abortion.” ECF No. 1-5 at 11.

      In reality, Plaintiff-physicians’ alleged injury relied upon a chain of

discretionary third-party actions that, at most, makes it statistically possible they

could treat a patient for a complication of medication abortion if: some other

provider prescribes mifepristone to a patient, the patient experiences a rare side

effect or “complication”; that patient might go to an emergency room for follow-up

care where a Plaintiff-physician might be on duty and might treat that patient; which

might mean the Plaintiff-physician treats a patient who previously had a medication

abortion. ECF No. 7 at 14. Standing cannot be based on discretionary, independent

actions of third parties, Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013),

“hypothetical harms,” Louisiana v. Biden, No. 22-30087, slip op. at 13 (5th Cir. Apr.

5, 2023), or statistical possibilities, Summers v. Earth Island Inst., 555 U.S. 488,


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497-498 (2009). Doing so “would make a mockery” of established standing law.

Summers, 555 U.S. at 498.

      The District Court’s other associational-standing rationales fare no better.

The need to treat patients cannot suffice to confer standing anytime a doctor objects

to the underlying cause of a patient’s condition. Consider the ramifications: ER

doctors could challenge laws easing handgun restrictions that made them “feel

complicit” in treating patients injured by gun violence; pediatricians could challenge

regulations rescinding air pollution controls that caused them to treat asthmatic

children, taking time away from other patients; the list goes on.

      3. The District Court’s organizational standing analysis is just as wrong. It

theorized that FDA’s actions forced Plaintiffs to divert resources from their core

mission, Op. 12, but Plaintiff-organizations oppose all forms of abortion. Actions

to limit abortion access support Plaintiff-organizations’ purpose and cannot

substantiate a diversionary-injury claim. See Tenth Street Residential Ass’n v. City

of Dallas, 968 F.3d 492, 500 (5th Cir. 2020). Every “diversion” the District Court

identified falls into Plaintiff-organizations’ “duties and responsibilities.” ECF No.

1-4 at 4, 7; ECF No. 1-5 at 5-7. That “radical” approach to organizational standing

would “wedge open the courthouse doors to a wide range of plaintiffs … who were

previously barred by bedrock standing requirements.” Barber v. Bryant, 860 F.3d

345, 354 n.7 (5th Cir. 2017) (quotation marks omitted).


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      4. Plaintiffs have failed to demonstrate “substantial likelihood” of future

injury. Their “theory of standing, which relies on a highly attenuated chain of

possibilities, does not satisfy the requirement that threatened injury must be certainly

impending.” Clapper, 568 U.S. 410; accord City of Los Angeles v. Lyons, 461 U.S.

95, 109 (1983). Across decades of practice from all Plaintiffs and their members,

Plaintiffs have come up with only a handful of instances in which they have treated

women who experienced any complications—let alone serious adverse events—

from medication abortion.        Such “inherently contextual and episodic” past

occurrences cannot provide “standing to obtain prospective relief.” Society of

Separationists, Inc. v. Herman, 959 F.2d 1283, 1286 (5th Cir. 1992). That is

particularly true here, where these rare past occurrences are in line with the FDA-

approved label’s statement that less than 1% of women may have serious adverse

events, ECF No. 28-1 at 47, and depend entirely on a series of third-party

discretionary actions.    “[S]peculation” about future harm “cannot satisfy the

requirement” for injunctive relief. Clapper, 568 U.S. at 410-411.

      B.     Plaintiffs’ Challenges To The 2000 Approval And 2021 Non-
             Enforcement Decision Are Time-Barred And Unexhausted.

      1. To the extent Plaintiffs’ challenge to the 2000 approval is based on the

denial of their 2002 petition, they filed suit more than six years after FDA denied

that petition, rendering that claim time-barred. 28 U.S.C. § 2401(a). To the extent

that challenge is based on Plaintiffs’ 2019 petition, they did not challenge the 2000


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approval there, rendering that claim unexhausted. 21 C.F.R. § 10.45(b). Plaintiffs’

request for an injunction as to the 2000 approval should have been dismissed on that

basis alone. The District Court’s contrary reasoning is unpersuasive.

      First, FDA did not “reopen” the 2000 approval in 2016 or 2021 such that

Plaintiffs’ challenge to the 2000 approval is timely. Plaintiffs’ suit comes more than

six years after FDA’s 2016 changes. The 2019 petition did not challenge the 2000

approval. And FDA’s 2021 denial of that petition did nothing “sufficient to trigger

the reopener doctrine.” Nat’l Min. Ass’n v. U.S. Dep’t of Interior, 70 F.3d 1345,

1352 (D.C. Cir. 1995). FDA’s 2021 announcement that it would not enforce the in-

person dispensing requirement did not reopen the 2000 approval either; the 2021

action was not a “sea change” or alteration of “the basic regulatory scheme,” Nat.

Res. Def. Council v. EPA, 571 F.3d 1245, 1266 (D.C. Cir. 2009) (per curiam), nor

did it “significantly alter[ ] the stakes of judicial review,” Nat’l Biodiesel Bd. v. EPA,

843 F.3d 1010, 1017 (D.C. Cir. 2016) (quotation marks omitted). If the 2021 change

counts as reopening, any time any agency changed any aspect of an earlier decision

or exercised ongoing oversight over a product or project, plaintiffs could challenge

every part of the agency’s initial decision.         That would inject destabilizing

uncertainty into countless industries. And it is not the law.

      Second, the District Court concluded that Plaintiffs’ challenge to the 2000

approval is timely as a result of equitable tolling—a theory Plaintiffs never invoked


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in their briefing.     “Equitable tolling applies only in rare and exceptional

circumstances,” Teemac v. Henderson, 298 F.3d 452, 457 (5th Cir. 2002) (quotation

marks omitted), when “the litigant establishes” that she diligently pursued her rights

and extraordinary circumstances prevented timely filing. Menominee Indian Tribe

of Wisconsin v. United States, 577 U.S. 250, 255, 257 (2016). There are no

extraordinary circumstances here. Plaintiffs had ample notice, time, and resources

to sue—they simply failed to do so, even though FDA’s delay in adjudicating the

2002 petition extended the time in which Plaintiffs could file suit. No case supports

using equitable tolling in circumstances like this.

       Plaintiffs also failed to diligently pursue their rights in court or before FDA.

See Irwin v. Dep’t of Veterans Affs., 498 U.S. 89, 96 (1990) (equitable tolling

warranted where claimant “actively pursued” “judicial remedies”). Plaintiffs could

have—but did not—seek to “compel” FDA to act on their petition. 5 U.S.C.

§ 706(1). They also did not actively pursue remedies from FDA; another group that

was not party to the 2002 petition twice “called upon” FDA to respond to the

petition. Op. 25 (quoting ECF No. 1-4 at 6). There is no excuse for Plaintiffs’ failure

to timely file suit.

       2. The District Court also found an injunction warranted based on Plaintiffs’

challenge to FDA’s 2021 statements of enforcement discretion. Plaintiffs never

exhausted that claim, see 21 C.F.R. § 10.45(b), and any claim based on enforcement


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discretion was mooted when, in January 2023, FDA permanently removed the in-

person dispensing requirement. See Center for Drug Evaluation and Research,

Approval      Package      for     NDA         20-687/S-025     (Jan.    3,        2023),

https://tinyurl.com/yrdunhdu.

      C.     Plaintiffs Lack Any Viable Merits Claims.

             1.     Plaintiffs’ Comstock Act claim is unlikely to succeed.

      The District Court concluded that FDA’s 2021 exercise of enforcement

discretion likely violated the Comstock Act. That claim is unexhausted and moot.

The court thus lacked jurisdiction to issue a preliminary injunction on that basis. See

In re Cigar Ass’n of Am., 812 F. App’x 128, 136 (4th Cir. 2020) (per curiam)

(challenge to FDA guidance mooted when subsequent agency action “supersede[d]”

the guidance); Theodore Roosevelt Conservation P’ship v. Salazar, 661 F.3d 66, 79

(D.C. Cir. 2011) (courts cannot invalidate agency policy “superseded by intervening

regulatory events”).

      Regardless, the court’s analysis fails on the merits. Its order assumes that

FDA was obligated to evaluate the Comstock Act in considering approval conditions

for mifepristone. But when all the FDA action occurred, Roe v. Wade was governing

law making the Comstock Act constitutionally unenforceable.             In any event,

Plaintiffs never raised this statute to FDA.       In the face of that silence, it is

unsurprising that FDA did not address an 1873 criminal statute that it is not charged



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with interpreting or enforcing. Nat’l Elec. Mfrs. Ass’n v. U.S. Dep’t of Energy, 654

F.3d 496, 515 (4th Cir. 2011) (agency not obligated to “provide exhaustive,

contemporaneous legal arguments to preemptively defend its action”).

      Nor could FDA have invoked the Comstock Act as a basis to deny the 2000

NDA. FDA may consider only seven grounds for refusing to approve an NDA. 21

U.S.C. § 355(d).    If none applies, FDA “shall issue an order approving the

application.” Id. Compliance with criminal laws—or any other laws that FDA is

not tasked with administering—is not on that list.

      In any event, in 2007, Congress affirmatively endorsed mifepristone’s

availability and distribution without any Comstock-related restrictions. The Food

and Drug Administration Amendments Act of 2007 (FDAAA) expressly “deemed”

certain drugs originally approved under Subpart H—which included Mifeprex—to

have a REMS in effect with the drug’s then-existing distribution restrictions. See

Pub. L. No. 110-85, tit. IX, § 909(b) (codified at 21 U.S.C. § 331 note). The District

Court’s interpretation strips these Executive and Legislative actions of their effect.

             2.     FDA’s approval was not arbitrary and capricious.

      The District Court held that FDA should not have approved Mifeprex under

Subpart H in 2000. That purported error is certainly not a basis for enjoining

mifepristone’s approval today. FDA’s REMS-based approval renders irrelevant any

purported error in FDA’s earlier reliance on Subpart H. See Ctr. for Sci. in the Pub.



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Int. v. Regan, 727 F.2d 1161, 1165 (D.C. Cir. 1984). On even the court’s logic, if

FDA “full[y] review[ed]” and reapproved mifepristone as safe and effective under

FDA’s REMS authority when it made changes to the REMS, as the court said in

finding the reopener doctrine applies, then the purported Subpart H error has no

effect. Op. 22-23 (quoting ECF No. 1-44 at 7).

      The District Court is also wrong that Mifeprex’s 2000 approval violated

Subpart H because “[p]regnancy is not an ‘[i]llness.’” Op. 40. Subpart H extends

to drug approvals for serious or life-threatening “conditions.” 57 Fed. Reg. 58,942,

58,946 (Dec. 11, 1992). FDA did not distinguish between “illness,” “disease,” or

“condition” in promulgating Subpart H. E.g., id. at 58,945. Consistent with the

FDCA, the agency uses illness, disease, and condition interchangeably in multiple

contexts.    FDA, Guidance for Industry: Expedited Programs for Serious

Conditions—Drugs           and        Biologics          3        (May            2014),

https://www.fda.gov/media/86377/download. FDA reasonably interpreted Subpart

H in the same way. That interpretation warrants deference under Kisor v. Wilkie,

139 S. Ct. 2400, 2412 (2019) (plurality op.). And even Plaintiffs do not dispute that

pregnancy can be a serious condition. See ECF No. 70-1 at 7-8.

      Nor did FDA act arbitrarily and capriciously in concluding that mifepristone

qualifies for approval under Subpart H because it carries a “meaningful therapeutic

benefit.” The District Court lacked any administrative record on which to base its


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contrary conclusion. See Op. 44-47. Even the incomplete preliminary injunction

record refutes the court’s conclusion that “the clinical trials did not compare

chemical abortion with surgical abortion.” Op. 45. FDA considered data comparing

medical and surgical abortion from multiple clinical trials and reasonably concluded

that medical abortion is safer. ECF No. 28-1 at 18, 262-263.

      FDA’s 2000 NDA approval and 2016 changes were not arbitrary and

capricious either.    The District Court concluded that FDA’s analysis and

decisionmaking was “unsound” or incomplete, Op. 50-60—but the District Court

did not even review the administrative record, despite the parties’ agreement to

proceed to a merits decision based on that record. See Citizens to Pres. Overton

Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971) (judicial “review is to be based on the

full administrative record”), abrogated on other grounds by Califano v. Saunders,

430 U.S. 99 (1977).

      In the absence of the full record, the court freely second-guessed FDA’s

decisionmaking based on its own analysis of the limited record before it, including

the court’s independent research and sources post-dating the agency’s various

approvals. See Op. 55 nn.59, 60; 57 n.61; 7 n.9; 29 n.22; 45 n.37; 47 n.45. It

repeatedly drew conclusions about the strength and reasonableness of FDA’s

decision-making without seeing the evidence or FDA’s analysis. It analyzed an FDA

proposal limiting the distribution of Mifeprex without seeing the contents of the


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actual proposal. Op. 55. And the court rejected FDA’s decision not to impose

distribution limitations as arbitrary and capricious without seeing FDA’s final

explanation of its reasoning.2 Id.

      Even on the limited record before it, the court’s decision is wrong for at least

three reasons. First, FDA did not err in exercising its scientific judgment about what

conditions of use should be in the final label based on the underlying clinical trials.

Despite supposedly disclaiming any “study match” requirement, Op. 50 n.48, the

court held FDA acted arbitrarily and capriciously by approving Mifeprex under

conditions that differed from the clinical trials. Op. 49-50, 59-60. FDA regularly

requires more limitations in clinical trials than ultimately appear on the label. For

good reason: trials are often designed to determine what conditions are, and are not,

necessary to include in a label when the drug goes to market. This court’s ruling

injects instability into the entire pharmaceutical industry, because nothing in the

FDCA, FDA regulations, established practice, or common sense limits FDA’s

discretion in this way.

      Second, even the limited record shows that FDA evaluated whether

mifepristone would be safe for use under the approved label and reasonably


2
  The court reiterates Plaintiffs’ misstatement that FDA never studied the effects of
mifepristone in individuals under 18. Data submitted in the original approval and
2016 changes included testing in under-18 patients. ECF No. 28-1 at 51, 268. FDA
waived the pediatric study requirements for pre-menarchal patients; the
requirements for post-menarchal pediatric patients were met. Id. at 30.

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explained its decision. The court takes issue with FDA’s decision to give providers

discretion on the method to diagnose ectopic pregnancies and date gestational age,

rather than requiring an ultrasound. Op. 51-54. FDA relied on two French clinical

trials using those exact conditions. The court acknowledged as much, but rejected

those trials because they were smaller than a U.S. clinical trial. Op. 49 n.47. But it

is up to the agency—not the Court—to determine whether evidence from a clinical

trial is relevant to its decisionmaking. Courts are not supposed to cherry-pick

evidence and second-guess expert findings when reviewing agency decisions, Motor

Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983), especially ones involving FDA’s “scientific expertise.” Serono Lab’ys, Inc.

v. Shalala, 158 F.3d 1313, 1320 (D.C. Cir. 1998). And even the limited record shows

FDA repeatedly concluded that Mifeprex was safe under the approved conditions

and, in the exercise of its reasoned judgment and expertise, deemed the court’s

preferred conditions unnecessary. See, e.g., ECF No. 28-1 at 19-21; ECF No. 1-44

at 12-15; ECF No. 1-25 at 3.

      Third, the court substituted its judgment for FDA’s reasoned risk-benefit

analysis about Mifeprex’s safety and efficacy. The rationale underpinning the

court’s entire order is that FDA downplayed concerns that mifepristone is unsafe,

leading it to approve a drug that will harm women more often than it will help them.

Once again, the data and the expert agency say otherwise. The court points to 97


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cases where women with ectopic pregnancies took mifepristone out of 5.6 million

women over 23 years—a rate of less than 0.0017%. Op. 53; FDA, Mifepristone U.S.

Post-Marketing      Adverse       Events         Summary       Through      6/30/2022,

https://www.fda.gov/media/164331/download. Other data similarly show that the

risk of complications and serious adverse effects are likewise comparatively rare.

ECF No. 28-1 at 33-37, 52; Goldberg Decl. ¶ 12. And even if these data undercount

certain harms to some degree—another assertion belied by the record, and that FDA

has repeatedly rejected, ECF No. 1-44 at 21-22—this risk-benefit calculation is

FDA’s to make. No drug is 100% safe or 100% effective. The expert agency’s job

is to evaluate this tradeoff. FDA has affirmed time and again that Mifeprex is safe

under the listed conditions.

II.   THE EQUITIES OVERWHELMINGLY FAVOR A STAY.

      The harm to Danco and the public interest overwhelmingly favor a stay and

significantly outweigh any speculative injury to Plaintiffs.

      A.     Danco Faces Substantial, Certain, Unrecoverable Harm.

      Danco sells one product: Mifeprex. It relies on FDA’s approval to sell that

product in interstate commerce. By “stay[ing]” or alternatively “suspend[ing]” those

FDA actions, the court’s order irreparably threatens Danco with certain,

unrecoverable harm: If the injunction remains in effect pending appeal and litigation

drags on an extended time, Danco may be unable to continue operating. See Long



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Decl. ¶ 11.3    Economic harms are indisputably irreparable when the “alleged

financial injury threatens the very existence of [the movant’s] business.” Wages &

White Lion Invs., LLC v. FDA, 16 F.4th 1130, 1142 (5th Cir. 2021) (internal

quotation marks omitted). The District Court entirely ignored Danco in weighing

the equities, abdicating its “duty … to balance the interests of all parties and weigh

the damage to each.” Stormans, Inc. v. Selecky, 586 F.3d 1109, 1138 (9th Cir. 2009);

see Am. Radio Ass’n v. Mobile S.S. Ass’n, 483 F.2d 1, 4 (5th Cir. 1973) (court must

“balance … harm to all parties”).

      B.       The Public Interest Favors A Stay.

      1. The public interest overwhelmingly favors a stay. The District Court’s

contrary analysis rests on a false narrative that does not account for the interests of

the vast majority of women for whom mifepristone is safe and effective. More than

99.9% of women who take the drug do not experience any serious adverse event.

ECF No. 28-1 at 52. The drug is effective in more than 96% of cases. Id. at 33-37.

Women choose medication abortion for many reasons based on their individual

circumstances, and absent a stay from this Court, many of them will be unable to

obtain mifepristone during this appeal even if their individual circumstances make

them a better candidate for a medication abortion.         Goldberg Decl. ¶¶ 10-11;


3
 It is unclear what precise effect a “stay” would have here; no court has ever stayed
(or suspended) a longstanding NDA approval. Either remedy would threaten
Danco’s existence. See Long Decl. ¶¶ 6, 11, 12.

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Schreiber Decl. ¶¶ 18-21. Many patients will be pushed to a surgical abortion at a

later gestational age given limited availability, or to unapproved regimens with a

lower complete success rate and more intense side effects. Goldberg Decl. ¶¶ 13-

14; Schreiber Decl. ¶¶ 12, 21-22. Preventing doctors from exercising their medical

judgment as to the best course of treatment for particular patients and restricting

women’s access to the standard of care for medication abortion while appellate

review plays out will inflict irreparable physical and psychological harm on large

numbers of women. Goldberg Decl. ¶ 15; Schreiber Decl. ¶¶ 19, 21.

      Plaintiffs could not identify a single case in which a court intervened and

pulled a drug that had “been in use for so long” from the market. Prelim. Inj. Hr’g

Tr. 51-52. The court’s first-of-its-kind order “set[s] a dangerous precedent for

undermining FDA and creating regulatory uncertainty that will impede the

development of important new treatments and therapies.”          See Press Release,

Biotechnology Innovation Org., New Ruling Out of Texas Sets “Dangerous

Precedent for Undermining the FDA” (Apr. 8, 2023), https://www.bio.org/press-

release/new-ruling-out-texas-sets-dangerous-precedent-undermining-fda.            The

injunction also leaves manufacturers, suppliers, and distributors without statutory or

regulatory guidance as to the effect of the Order. See Long Decl. ¶¶ 9, 12.

      2. The public interest also strongly favors a stay given the procedural

irregularity underlying the District Court’s sweeping order. Without waiting for the


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administrative record, the court issued a mandatory injunction upending a decades-

old drug approval. The court claimed the “status quo” is the world as it existed more

than 23 years ago, Op. 64-65, but there is no reasonable debate that the injunction

here would—and was intended to—disrupt the longstanding status quo. In fact,

Plaintiffs admitted they sought a mandatory injunction.           ECF No. 7 at 23.

“Mandatory preliminary relief, which goes well beyond simply maintaining the

status quo,” “is particularly disfavored.” Martinez v. Mathews, 544 F.2d 1233, 1243

(5th Cir. 1976). The court never addressed the heightened standard for a mandatory

injunction. A stay of the court’s order is necessary to “hold things in stasis” pending

appeal. In re Manges, 29 F.3d 1034, 1040 (5th Cir. 1994) (citation omitted).

      A stay that leaves mifepristone on the market pending appeal also serves the

public interest because, even if Plaintiffs win on the merits, the appropriate remedy

would be remand without vacatur to allow FDA to consider and remedy any issue

with its decisionmaking that the court identifies. Cent. & S. W. Servs., Inc. v. EPA,

220 F.3d 683, 692 (5th Cir. 2000). A preliminary injunction cannot award a party

more relief than would be available on the merits—but that is exactly what the

District Court did.

      Finally, a stay is warranted given that FDA has been enjoined in 17 States and

the District of Columbia from “altering the status quo and rights as it relates to the

availability of Mifepristone under the” January 2023 REMS. Order Granting in Part


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Plaintiffs’ Motion for Preliminary Injunction at 30, Washington v. FDA, No. 1:23-

cv-03026-TOR (E.D. Wash. Apr. 7, 2023), ECF No. 80.                    The public is

understandably confused by these two orders, issued the same day. Staying the

nationwide injunction that alters the status quo would avoid creating an unnecessary

judicial conflict.

       C.     Plaintiffs Face No Irreparable Harm From A Stay Pending Appeal.

       Plaintiffs’ claimed irreparable harm consists of speculative concern about

follow-up care from third-party discretionary actions, which rarely occur, and

procedural injuries related to FDA’s initial approval of Mifeprex under Subpart H.

Neither is irreparable harm. See Google, Inc. v. Hood, 822 F.3d 212, 228 (5th Cir.

2016) (requiring “imminent, non-speculative irreparable injury”); Amoco Prod. Co.

v. Village of Gambell, 480 U.S. 531 (1987) (procedural injury not irreparable). Even

if Plaintiffs’ purported harms were present in the record or grounded in fact, such

small numbers of speculative future injuries pale in comparison to the certain injuries

to Danco and the many women who will be unable to obtain medication abortion for

the foreseeable future.

       Plaintiffs’ dilatory actions further undermine any claims of irreparable injury.

See Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018) (per curiam) (“party requesting

a preliminary injunction must generally show reasonable diligence”). Plaintiffs

waited 2,438 days after FDA denied their 2002 petition, and 337 days after FDA



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denied their 2019 petition, to file suit. They chose not to seek judicial relief to

compel “unreasonably delayed” agency action, see 5 U.S.C. § 706(1), or to

otherwise negotiate with FDA in the interim, cf. Optimus Steel, LLC v. U.S. Army

Corps of Eng’rs, 492 F. Supp. 3d 701, 720 (E.D. Tex. 2020). Nor did they seek a

temporary restraining order. Plaintiffs even proposed a schedule that would have

delayed any merits ruling by several months. See ECF No. 68. Plaintiffs cannot

now credibly claim irreparable harm from a short stay pending appeal.

                                 CONCLUSION

      The Court should enter an administrative stay and stay the preliminary

injunction pending appeal.

                                          Respectfully submitted,

                                          /s/ Jessica L. Ellsworth
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                        CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion complies with the requirements of Federal

Rule of Appellate Procedure 27(d) because it has been prepared in 14-point Times

New Roman, a proportionally spaced font. I further certify that this motion complies

with the type-volume limitation of Federal Rule of Appellate Procedure 27(d)(2)

because it contains 5,193 words, according to the count of Microsoft Word.

      I further certify that this emergency motion complies with the requirements of

Fifth Circuit Rule 27.3 because it was preceded by a telephone call to the Clerk’s

Office on April 10, 2023 and electronic correspondence to counsel for the Plaintiffs

and the Government on April 9, 2023, advising of Danco’s intent to file this

emergency motion.        I further certify that the facts supporting emergency

consideration of this motion are true and complete and that this motion is being

served at the same time it is being filed.

                                             /s/ Jessica L. Ellsworth
                                             Jessica L. Ellsworth

                                             Counsel for Intervenor-Appellant
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                        CERTIFICATE OF SERVICE

      I hereby certify that, on April 10, 2023, I electronically filed the foregoing

emergency motion for stay pending appeal with the Clerk of Court by using the

appellate CM/ECF system. I further certify that the participants in the case are

CM/ECF users and that service will be accomplished by using the appellate CM/ECF

system.


                                          /s/ Jessica L. Ellsworth
                                          Jessica L. Ellsworth

                                          Counsel for Intervenor-Appellant
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                       CERTIFICATE OF CONFERENCE

      On April 10, 2023, counsel for Plaintiffs indicated by way of e-mail that they

oppose this motion and intend to file a brief in opposition.


                                           /s/ Jessica L. Ellsworth
                                           Jessica L. Ellsworth

                                           Counsel for Intervenor-Appellant
